Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 1 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 2 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 3 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 4 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 5 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 6 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 7 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 8 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document      Page 9 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 10 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 11 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 12 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 13 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 14 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 15 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 16 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 17 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 18 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 19 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 20 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 21 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 22 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 23 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 24 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 25 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 26 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 27 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 28 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 29 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 30 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 31 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 32 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 33 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 34 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 35 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 36 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 37 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 38 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 39 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 40 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 41 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 42 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 43 of 44
Case 18-61490-jwc   Doc 125    Filed 08/25/20 Entered 08/25/20 11:59:09   Desc Main
                              Document     Page 44 of 44
